UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
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In re:                                                                NOTICE OF MOTION


Karen A Nowak,                                                        Case No. 1-19-10808-MJK

                                                                      Chapter 7

                                                                      HON. Michael J. Kaplan

                  Debtor(s).
------------------------------------------------------------------x


         Please take notice that Nationstar Mortgage LLC d/b/a Mr. Cooper, by the undersigned

attorneys, will move this court on July 3, 2019 at            10:00 A.M. or as soon thereafter as

counsel can be heard, at the United States Bankruptcy Court, U.S. Courthouse, Niagara Falls

Municipal Complex, 1925 Main Street, 2nd Floor Hearing Room, Niagara Falls, NY 14305 for

an Order pursuant to 11 U.S.C. §362(d)(1) and 11 U.S.C. §362(d)(2) terminating the automatic

stay as to movant’s interest in the real property commonly known as 3271 Porter Center Road,

Porter, NY 14174 and for such other and further relief as the Court may deem proper.


DATED: June 3, 2019
Westbury, NY
                                                     By: /s/ Barbara Whipple____
                                                     Barbara Whipple, Esq.
                                                     Attorneys for Movant
                                                     900 Merchants Concourse, Suite 310
                                                     Westbury, New York 11590
                                                     518-952-6485
                                                     bwhipple@rasflaw.com




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TO:

Debtor
Karen A Nowak
3271 Porter Center Road
Youngstown, NY 14174

Debtor’s Attorney
Amy Jessica Kaslovsky
Western NY Law Center
Main Seneca Building
237 Main Street, Suite 1130
Buffalo, NY 14203

Trustee
Morris L. Horwitz
Morris L. Horwitz, Atty. at Law
PO Box 716
Getzville, NY 14068

Chamber’s Copy
Hon. Michael J. Kaplan
US Bankruptcy Court, W.D.N.Y.
Robert H. Jackson U.S. Courts
2 Niagara Square
Buffalo, NY 14202




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